USCA4 Appeal: 07-4115   Doc: 112    Filed: 09/24/2008    Pg: 1 of 4


                                                        Filed: September 24, 2008

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT
                            1100 East Main Street, Suite 501
                             Richmond, Virginia 23219-3517
                                  www.ca4.uscourts.gov

                           _______________________________

                           TRANSCRIPT ORDER ACKNOWLEDGMENT
                           _______________________________

        No. 07-4059 (L), US v. Learley R. Goodwin
                         8:04-cr-00235-RWT

         This Acknowledgment establishes a deadline for filing all
         transcript ordered from this court reporter, as follows:

        Court Reporter: Tracy Dunlap
        Current Deadline: 11/10/2008
        Proceedings: numerous transcripts, see transcript order

        If transcript has not been properly ordered or if appropriate
        financial arrangements have not been made, the court reporter
        must complete and file a Transcript Order Deficiency Notice with
        this Court within 7 calendar days. If the court reporter has
        grounds for an extension of time, a request for extension may be
        sought using the Transcript Extension Request form.

        This Court is notified of the filing of the Appeal Transcript in
        the District Court through the District Court=s CM/ECF system. If
        the transcript is not filed by the due date, a transcript
        sanction takes effect, as provided in the Guidelines for
        Preparation of Appellate Transcripts in the Fourth Circuit. If a
        transcript sanction is in effect, the court reporter must file a
        Transcript Sanction Certification Form with this Court at the
        time the transcript is filed with the District Court, certifying
        that the appropriate sanction has been deducted from the
        transcript fee.

        Court forms are available for completion as links from this
        notice and at the Court's web site, www.ca4.uscourts.gov.

        Sharon A. Wiley
        Deputy Clerk
        804-916-2704
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                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                             TRANSCRIPT DEFICIENCY NOTICE

                No. 07-4059 (L), US v. Learley R. Goodwin
                                 8:04-cr-00235-RWT

         If there are problems with the Transcript Order or if the Court
         has not yet approved preparation of transcript at government
         expense, the Court Reporter should, within 7 days of receipt of
         the Transcript Order Acknowledgment from the Court of Appeals,
         file the Deficiency Notice form with the Court of Appeals and
         serve a copy on the party ordering the transcript and the
         District Court Reporter Coordinator.

        Court Reporter: Tracy Dunlap
        Current Deadline: 11/10/2008
        Extension Requested to:

        [ ]   Transcript Order is sufficient, but Criminal Justice Act
              funds have not been approved (CJA 24)

        [ ] Transcript Order is sufficient, but motion for transcript
        at government expense has not been granted (28 U.S.C. § 753(f))

        [ ]   Satisfactory financial arrangements have not been made.
              Please specify problem:

        [ ]   Transcript order is unclear. Please specify problem:

        [ ]   Transcript order has not been received (CJA 24)

        [ ]   Transcript order was received after receipt of
              Acknowledgment. Please specify length of delay:

        [ ]   Other (please specify):

        Signature:

        Date:
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                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                             TRANSCRIPT EXTENSION REQUEST

               No. 07-4059 (L), US v. Learley R. Goodwin
                                8:04-cr-00235-RWT

         If an extension of time is needed to complete the transcript,
         the court reporter may file a Transcript Extension Request with
         the Court of Appeals at least 10 days in advance of the
         deadline, setting forth specific information in support of the
         request. Copies of the Request shall be served on the parties
         to the case and the District Court Reporter Coordinator. The
         granting of an extension also constitutes a waiver of sanctions
         through the date of the extension.

        Court Reporter: Tracy Dunlap
        Current Deadline: 11/10/2008
        Extension Requested to:

        As of this date, approximately     pages have been completed
        and     pages are yet to be transcribed. Justification is as
        follows:

           1. Outstanding District Court transcripts ordered within 90
              days of this request: Any pending appellate transcripts
              will be taken into consideration in deciding this request.




           2. In-Court Time: (give total days/hours by month)




           3. Travel: (give hours spent traveling to and from Court by
              month)




           4. Other: (please provide any other information you would like
              the Court to consider when reviewing your request. Please
              be aware that this information will be posted on the public
              docket.)
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        Signature:

        Date:
